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                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF PUERTO RICO

In re:

THE FINANCIAL OVERSIGHT AND                                    PROMESA
MANAGEMENT BOARD FOR PUERTO RICO,
                                                               Title III
          as representative of
                                                               Case No. 17-BK-3283 (LTS)
THE COMMONWEALTH OF PUERTO RICO, et
al.,                                                           Jointly Administered

                                   Debtors. 1

                  SECOND SUPPLEMENTAL VERIFIED STATEMENT OF THE AD HOC
                     GROUP OF CONSTITUTIONAL DEBTHOLDERS PURSUANT
                      TO FEDERAL RULE OF BANKRUPTCY PROCEDURE 2019

             The ad hoc group of certain unaffiliated funds, accounts, and/or managers of funds or

  accounts (collectively, the “Ad Hoc Group of Constitutional Debtholders”) holding bonds issued

  or guaranteed by the Commonwealth of Puerto Rico (the “Commonwealth,” and the bonds

  issued or guaranteed by the Commonwealth, the “Constitutional Debt”) hereby submits this

  verified statement (this “Supplemental Statement”), as contemplated by Rule 2019 of the Federal

  Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)2 and the Order Further Amending

  Case Management Procedures [ECF No. 4086]. In support of this Supplemental Statement, the

  Ad Hoc Group of Constitutional Debtholders respectfully states as follows:

             1.      In August 2018, the Ad Hoc Group of Constitutional Debtholders formed and,

  contemporaneously therewith, retained Morrison & Foerster LLP (“Morrison & Foerster”) and


  1
    The Debtors in these title III cases, along with the last four digits of each Debtor’s federal tax identification
  number, are the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (No. 17-BK-3283-LTS) (3481);
  (ii) Employees Retirement System of the Government of the Commonwealth of Puerto Rico (No. 17-BK-3566-LTS)
  (9686); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (No. 17-BK-3567-LTS) (3808);
  (iv) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (No. 17-BK-3284-LTS) (8474); and (v) Puerto Rico
  Electric Power Authority (“PREPA”) (No. 17-BK-4780-LTS) (3747).
  2
      Made applicable to these Title III cases by Section 310 of PROMESA. See 48 U.S.C. § 2170.



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 G. Carlo-Altieri Law Offices, LLC (“G. Carlo-Altieri” and, together with Morrison & Foerster,

 “Counsel”).

          2.       On August 27, 2018, Counsel submitted the Verified Statement of the Ad Hoc

 Group of Constitutional Debtholders Pursuant to Federal Rule of Bankruptcy Procedure 2019

 [ECF No. 3808]. On November 5, 2018, Counsel submitted a supplemental verified statement.

 [ECF No. 4178]. Counsel submits this Supplemental Statement to update the membership in the

 Ad Hoc Group of Constitutional Debtholders and information regarding the disclosable

 economic interests currently held by members of the Ad Hoc Group of Constitutional

 Debtholders.

          3.       The members of the Ad Hoc Group of Constitutional Debtholders hold

 disclosable economic interests or act as investment managers or advisors (or are affiliates of

 entities which act as investment managers or advisors) to funds and/or accounts that hold

 disclosable economic interests in relation to the Commonwealth.                        Based upon information

 provided to Counsel by the members of the Ad Hoc Group of Constitutional Debtholders,

 attached hereto as Exhibit A is a list of the names, addresses, nature, and amount of disclosable

 economic interests of each member of the Ad Hoc Group of Constitutional Debtholders with

 respect to the Commonwealth as of January 25, 2019.

          4.       In addition to the Ad Hoc Group of Constitutional Debtholders, as of the date of

 this Supplemental Statement, Counsel has also represented the PBA Funds3 in connection with

 the Title III Cases.4


 3
  See Third Supplemental Verified Statement of the PBA Funds Pursuant to Federal Rule of Bankruptcy Procedure
 2019 [ECF No. 4855].
 4
   G. Carlo-Altieri has also been retained by: (a) a provider of utility services to the Commonwealth and/or its related
 instrumentalities and public corporations; (b) a corporation and its related entities holding potential litigation and
 trade claims against HTA and the Commonwealth and/or its related instrumentalities and public corporations; and
 (c) a corporation holding potential trade claims against PREPA. G. Carlo-Altieri has advised these clients with


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         5.      Nothing contained in this Supplemental Statement (or Exhibit A hereto) should be

 construed as a limitation upon, or waiver of, any rights of any member of the Ad Hoc Group of

 Constitutional Debtholders to assert, file, and/or amend any claim or proof of claim filed in

 accordance with applicable law and any orders entered in these cases.

         6.      Counsel reserves the right to amend this Supplemental Statement as necessary in

 accordance with the requirements set forth in Bankruptcy Rule 2019.

                                         [Signature page follows]




 respect to the Commonwealth’s restructuring generally, has prepared and filed proofs of claim, and has settled
 certain motions and contested matters on behalf of certain of these entities. See, e.g., ECF Nos. 3423, 3940.



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 Dated: January 28, 2019

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                                                       -and-


                                  By: Gary S. Lee
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                                  Counsel for the Ad Hoc Group of Constitutional
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                                                            Exhibit A

                            Names, Addresses and Disclosable Economic Interests of the
                                 Ad Hoc Group of Constitutional Debtholders 1

        Name of Creditor2                                   Address                       Nature and Amount of Disclosable
                                                                                                 Economic Interest
                                                                                         Constitutional Debt
                                                                                         $241,946,000
BlackRock Financial Management,             40 East 52nd Street
Inc.                                        New York, NY 10022                           Constitutional Debt (Insured)
                                                                                         $1,185,000

                                            555 Theodore Fremd Avenue                    Constitutional Debt
Candlewood Investment Group, LP             Suite C-303
                                            Rye, NY 10580                                $17,595,000


                                            60 Wall Street                               Constitutional Debt
Deutsche Bank Securities, Inc.              Floor 3
                                                                                         $149,047,000
                                            New York, NY 10005

                                            55 West 46th Street                          Constitutional Debt
Fir Tree Partners                           29th Floor
                                                                                         $440,739,000
                                            New York, NY 10036

                                            11601 Wilshire Boulevard                     Constitutional Debt
First Pacific Advisors, LLC                 Suite 1200
                                                                                         $199,540,000
                                            Los Angeles, CA 90025

                                                                                         Constitutional Debt
                                            300 Park Avenue
GoldenTree Asset Management LP
                                            New York, NY 10022                           $291,087,000

                                            7800 SW 57th Avenue                          Constitutional Debt
Inglesea Capital LLC                        Unit 308
                                                                                         $11,685,000
                                            South Miami, FL 33143



         1
           To the best of Counsel’s knowledge, the information included herein is accurate as of January 25, 2019. The
         amounts set forth herein include only outstanding principal and do not include any other amounts that may be due
         and owing under the applicable debt documents and laws, including but not limited to any overdue or compounded
         interest. The amounts set forth herein do not account for any amounts paid by an insurer. Capital appreciation
         bonds are reported at their accreted value as of January 25, 2019.
         2
          Each entity on this Exhibit A holds disclosable economic interests or acts as investment manager or advisor (or is
         an affiliate of entities which act as investment manager or advisors) to funds and/or accounts that hold disclosable
         economic interests in relation to the Debtors.



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        Name of Creditor2                   Address              Nature and Amount of Disclosable
                                                                        Economic Interest

                                                                Constitutional Debt
                                110 East 59th Street
Mason Capital Management, LLC
                                New York, NY 10022              $468,056,000

                                                                Constitutional Debt
                                Two Greenwich Plaza
Silver Point Capital, L.P.
                                Greenwich, CT 06830             $80,064,000

                                                                Constitutional Debt
                                                                $87,997,700
                                280 Park Ave
Taconic Capital Advisors L.P.
                                New York, NY 10017
                                                                Constitutional Debt (Insured)
                                                                $13,842,000
                                190 Elgin Avenue, George Town   Constitutional Debt
VR Global Partners, L.P.        Grand Cayman, Cayman Islands,
                                KYI-9005                        $442,962,000

                                3033 Excelsior Boulevard        Constitutional Debt
Whitebox Advisors LLC           Suite 300
                                Minneapolis, MN 55416           $139,000,000




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